Case 1:17-cv-00335-GJQ-RSK ECF No. 78 filed 12/12/18 PageID.686 Page 1 of 1



                        UNITED STATES OF DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN


                                       MINUTES
Case No: 1:17-cv-335-GJQ-RSK

Caption: Saunders v. Dyck O’Neal, Inc.

Date:                  Time:                         Place:           Magistrate Judge:
December 12, 2018      10:04 - 10:33 a.m.;           Grand Rapids     Hon. Ray Kent
                       12:54 - 1:02 p.m.

                                       APPEARANCES

 PARTY TYPE:               COUNSEL:                           REPRESENTING:

PLAINTIFF:        Alexander H. Burke             Karen Saunders
DEFENDANT:        Dale T. Golden                 Dyck-O-Neal, Inc.
                  Eugene X. Martin, IV




                                       PROCEEDINGS


NATURE OF HEARING:

MOTION HEARING held regarding Motion to Compel Discovery by plaintiff Karen
Saunders (ECF No. 60); motion GRANTED IN PART with remainder held in abeyance.
Parties to submit status report by 12/20/18 and proposed order regarding motion.


Order to Issue.




                         Portions of Proceedings Digitally Recorded

                                 Deputy Clerk: S. Carpenter
